          Case 4:13-cr-00068-JM Document 215 Filed 01/23/14 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               WESTERN DIVISION

UNITED STATES OF AMERICA                                                          PLAINTIFF

v.                                  No. 4:13CR00068-06 JLH

RENALDRE JACKSON                                                               DEFENDANT

                                           ORDER

        Defendant Renaldre Jackson’s motion to extend time to respond to presentence report is

GRANTED. Document #214. Objections to the presentence report will be due by February 12,

2014.

        IT IS SO ORDERED this 23rd day of January, 2014.




                                                  _________________________________
                                                  J. LEON HOLMES
                                                  UNITED STATES DISTRICT JUDGE
